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                                 UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO

Lafky Properties, LLC, an Oregon limited
liability company, dba Big Storage and Big            Case No. 19-cv-143
Storage Idaho,
                                                      COMPLAINT
                          Plaintiff,

vs.

Global Credit Union, a Washington
corporation,

                          Defendant.


         Plaintiff Lafky Properties, LLC, by and through its attorneys of record, Givens Pursley

LLP, and for a cause of action against Global Credit Union, complains and alleges as follows:

                                             PARTIES

         1.       Plaintiff Lafky Properties, LLC (“Lafky”), is an Oregon limited liability company

doing business in Idaho under the assumed business names Big Storage and Big Storage Idaho.

         2.       Lafky is a single member limited liability company, and the sole member—Mr.

Aaron Lafky—is a resident of Bend, Oregon.



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        3.      Defendant Global Credit Union (“Global”) is a Washington corporation with its

principal place of business located in Spokane, Washington.

                                  JURISDICTION AND VENUE

        4.      The Court has jurisdiction of this action pursuant to 28 U.S.C. § 1332(a)(1), as

                a.      the amount in controversy exceeds $75,000.00, exclusive of interest and
                        costs, and

                b.      there is complete diversity of citizenship and residence between Plaintiff
                        and Defendant.

        5.      This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331 as the basis

of one of the causes of action, in part, is the violation of a federal statute.

        6.      Venue before this Court in the District of Idaho pursuant to 28 U.S.C. §

1391(a)(2) is appropriate as a substantial portion of the relevant events occurred in this district

and specifically in Canyon County, Idaho.

        7.      This Court has personal jurisdiction over Global because it regularly conducts

business in the State of Idaho.

                                    FACTUAL BACKGROUND

        8.      Lafky was both a borrower and a depositor at Global at all relevant times hereto.

        9.      In or around November 2017, Lafky applied for and obtained a business loan

through Global in the principal amount of $5,080,000.00 (“Loan”) for the purchase of a large

storage unit complex located at 504 Caldwell Boulevard in Nampa, Idaho (“Property”).

        10.     The agreement for Lafky to borrow was documented by a Business Loan

Agreement between Lafky and Global dated November 17, 2017 (“Loan Agreement”).

        11.     In an effort to obtain the Loan, Lafky provided Global with a variety of

confidential and proprietary information relating to the Property, including the occupancy rates




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of the individual storage units, the stabilization rate of the Property, a private appraisal, and the

negotiated purchase price of the Property (collectively “Confidential Information”).

       12.     The Confidential Information was personal and private information of a type not

readily publicly available and which a reasonable person would regard as private, sensitive and

confidential in nature.

       13.     The Property consists of three separate tax parcels identified as Canyon County

Parcel Numbers R31310000 0, R31309000 0, and R31308000 0.

       14.     In or around November 2017, Lafky purchased the Property from Dustin Cox, a

private seller, for the sum certain (“Purchase Price”).

       15.     Lafky utilized the proceeds from the Loan to purchase the Property, and

collateralized the Property to secure the Loan.

       16.     Mr. Cox did not have any broker involved in the sale and did not disclose the

listing price or Purchase Price to any governmental agency.

       17.     After Lafky purchased the Property, in late 2017, the Canyon County Assessor’s

Office (“Assessor”) inquired with Lafky about the Purchase Price for the Property.

       18.     In accordance with Lafky’s right to privacy under Idaho law, it declined to

disclose the Purchase Price to the Assessor.

       19.     In an apparent effort to obtain information relating to the value of the Property,

the Assessor utilized public records to learn that Global was the lender on the Loan for the

Property.

       20.     After the Loan closed, but sometime prior to October of 2018, the Assessor

contacted Rick Green (“Green”)—Global’s loan officer on the Loan—and inquired about

personal and confidential information relating to the Property, including its Purchase Price.




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       21.     Green’s conduct alleged in this Complaint occurred within the scope and course

of his employment for Global.

       22.     Green knew or should have known that the information within Global’s records

on its borrower and depositor Lafky was private, personal and confidential customer financial

information that could not be released without the explicit approval of the customer.

       23.     Although Green understood that such information was confidential and Green

also knew he did not have Lafky’s permission to speak with the Assessor, Green nevertheless

accessed Lafky’s Loan records and voluntarily disclosed to the Assessor the Confidential

Information, including the Purchase Price of the Property.

       24.     It is believed that Green also shared details from the confidential appraisal that

had been done of the property, including a 5.93% capitalization or “cap” rate referenced in the

appraisal at page 87 that had to do with appraisals utilized in the Puget Sound area of

Washington State, but had no relationship to the value of this transition. In disseminating this

information, Green did not make it clear that this had nothing to do with this transaction, and the

Canyon County Assessor thereafter acted as if that was in fact the appropriate cap rate to use for

this transaction on an income approach to valuation of this property.

       25.     The appraisal is labeled “prepared for Global Credit Union” and “COPYRIGHT

2017 by Appraisal Zone, Inc. all rights reserved,” but Lafky paid the full price of the appraisal

and was required to do so as a condition of the Loan.

       26.     At no time prior to disclosing the Confidential Information did Global or Green

inform Lafky that Global would disclose the Confidential Information to state or county officials

or agencies.




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       27.     At no time prior to disclosing the Confidential Information did Global or Green

obtain Lafky’s consent to disclose the Confidential Information to the Assessor.

       28.     Prior to Global’s disclosure of the Confidential Information, the three parcels that

comprised the Property were valued by the Assessor as follows:

               a.     R31310000 0: Land: $298,000.00; Improvements: $2,425,300.00;

               b.     R31309000 0: Land: $195,910.00; Improvements: $0.00;

               c.     R31308000 0: Land: $180,620.00; Improvements: $0.00.

       29.     Prior to Global’s disclosure of the Confidential Information, the Assessor valued

the entire Property at $3,099,830.00.

       30.     Shortly after Global disclosed the Confidential Information, the Assessor valued

the parcels that comprised the Property as follows:

               a.     R31310000 0: Land: $402,102.00; Improvements: $4,053,200.00;

               b.     R31309000 0: Land: $264,620.00; Improvements: $0.00;

               c.     R31308000 0: Land: $243,940.00; Improvements: $0.00.

       31.     After Global’s disclosure of the Confidential Information, the Assessor valued the

entire Property at $4,963,862.00 for tax year 2018, a more than sixty percent increase over the

entire assessed value for tax year 2017.

       32.     A graphic depiction of this information is attached hereto as Exhibit A.

                               COUNT ONE
              BREACH OF THE IMPLIED DUTY OF CONFIDENTIALITY

       33.     The foregoing paragraphs are hereby restated as if set forth in full and

incorporated herein by this reference.

       34.     At all times relevant to the Loan, Global had an implied contractual duty to keep

Lafky’s Confidential Information private.



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       35.     Global breached this implied contractual duty by disclosing the Confidential

Information to the Assessor without Lafky’s consent.

       36.     As a result of Global’s unauthorized disclosure of the Confidential Information,

Lafky has been damaged in an amount to be proven at trial, but no less than $75,000.00.

                                 COUNT TWO
                    BREACH OF CONTRACT/BREACH OF IMPLIED
                   COVENANT OF GOOD FAITH AND FAIR DEALING

       37.     The foregoing paragraphs are hereby restated as if set forth in full and

incorporated herein by this reference.

       38.     The parties’ Loan Agreement defined the Loan Agreement to include the “Loan

Documents,” which in turn were defined to include a “Model Privacy Notice” for Lafky

Properties LLC (“Model Privacy Notice”). Thus, the Model Privacy Notice was incorporated by

reference into the terms of the parties’ Loan Agreement.

       39.     That Model Privacy Notice informed Lafky that it would collect personal

information in the circumstances where, as here, one sought to “apply for a loan or apply for

financing.”

       40.     The Confidential Information was information of the sort described as personal

information under the Model Privacy Notice.

       41.     Lafky read and relied upon the Model Privacy Notice.

       42.     The Model Privacy Notice states that “Federal law . . requires us to tell you how

we collect, share, and protect your personal information” and also states “In the section below,

we list the reasons financial companies can share members personal information; the reasons

Global Credit Union chooses to share; . . . .”




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       43.     That Model privacy notice listed a reason Global could share personal

information as “respond[ing] to court orders and legal investigations.”

       44.     That sharing of Confidential Information with the Assessor was not in the course

of responding to a court order or a legal investigation.

       45.     That Model Privacy Notice defined “Nonaffiliates” as “companies not related by

ownership or control. They can be financial or non-financial companies.” It went on to have a

blank after “Nonaffiliates we will share with can include _______”

       46.     The Assessor is not considered a Nonaffiliate under the Model Privacy Notice as

it is not a “company” and thus the Model Privacy Notice did not disclose or allow for sharing of

the Confidential Information with the Assessor.

       47.     The Model Privacy Notice and the Loan Agreement did not otherwise allow for

the sharing of the Confidential Information with the Assessor.

       48.     The sharing of the Confidential Information with the Assessor was a breach of the

Model Privacy Notice and the Loan Agreement, or alternatively, the sharing of said information

with the Assessor was a breach of the implied covenant of good faith and fair dealing.

       49.     The breach resulted in damages to Lafky in an amount to be proven at trial, but

not less than $75,000.00.

                                  COUNT THREE
                         NEGLIGENCE OR NEGLIGENCE PER SE

       50.     The foregoing paragraphs are hereby restated as if set forth in full and

incorporated herein by this reference.

       51.     Global had a statutory duty under 15 U.S.C. § 6802 and 12 C.F.R. § 1016.10, the

associated FTC “Safeguards Rule,” and its own internal written information security plan to

prevent the disclosure of Lafky’s Confidential Information to any nonaffiliated third party.



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       52.     Global’s statutory disclosure under 15 U.S.C. § 6803 did not inform Lafky of

Global’s intent to share the Confidential Information with the Assessor.

       53.     Global violated 15 U.S.C. § 6802 by disclosing the Confidential Information to

the Assessor without Lafky’s prior knowledge or consent.

       54.     Lafky is a member of the class sought to be protected by 15 U.S.C. § 6801, et seq.

       55.     Under either Washington or Idaho law, this violation is evidence of negligence or

negligence per se.

       56.     Washington law provides: “A breach of a duty imposed by statute, ordinance, or

administrative rule shall not be considered negligence per se, but may be considered by the trier

of fact as evidence of negligence.” Washington Code 5.40.050.

       57.     Idaho law provides that negligence per se will be established from a statute or

regulation if: “(1) the statute or regulation must clearly define the required standard of conduct;

(2) the statute or regulation must have been intended to prevent the type of harm the defendant's

act or omission caused; (3) the plaintiff must be a member of the class of persons the statute or

regulation was designed to protect; and (4) the violation must have been the proximate cause of

the injury.” Boswell v. Steele, 158 Idaho 554, 563, 348 P.3d 497, 506 (Ct. App. 2015)(citations

omitted).

       58.     Global’s unauthorized disclosure was negligent and actionable.

       59.     As a result of Global’s unauthorized disclosure of the Confidential Information,

Lafky has been damaged in an amount to be proven at trial, but no less than $75,000.00.




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                              ATTORNEYS’ FEES AND COSTS

       60.     Lafky is entitled to attorneys’ fees pursuant to the terms of the Loan agreement

and under Wash. Rev. Code § 4.84.330, as well as under Idaho Code Section 12-

120(3)(“commercial transaction” and “contract for services”).

                                    PRAYER FOR RELIEF

       1.      For judgment in favor of Lafky and against Global on all counts of the Complaint;

       2.      For the relief sought in each specific count;

       3.      For an award of costs and attorneys’ fees in the amount of $5,000.00 in the event

of a judgment by default or in such other and further amount as this Court may deem appropriate

at the proper time in these proceedings; and

       4.      For such other and further relief as this Court may deem appropriate.

       DATED this 24th day of October, 2019.

                                               GIVENS PURSLEY LLP



                                               /s/ Thomas E. Dvorak
                                               Thomas E. Dvorak
                                               Attorneys for Lafky Properties, LLC




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